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FOR THE WESTERN DISTRICT oF TENNESSEE" »,~p *§"s.-
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PATRICIA PATTERSON,
Piaintiff,

VS. No. 05-1023-T

JO ANNE BARNHART,

Commissioner of the Socia]

Security Administration,

Defendant.

 

ORDER OF RECUSAL AND TRANSFER

 

The undersigned recuses himself from this action. This case is transferred to the
Honorable J. Daniel Breen for further proceedings in exchange for a comparable case.

IT IS SO ORDERED.

 

 

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with Hu|e 58 and,'or,?g (a) FRCP on LO| 3 l l |

 

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This notice confirms a copy of the document docketed as number 13 in
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Honorable J. Breen
US DISTRICT COURT

